Case 1:22-cv-00704-HYJ-RSK   ECF No. 71-2, PageID.2333   Filed 12/04/24   Page 1
                                     of 3




                             Exhibit 1
Case 1:22-cv-00704-HYJ-RSK                  ECF No. 71-2, PageID.2334         Filed 12/04/24       Page 2
                                                    of 3



                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN


    MATTHEW KOTILA and ROBERT CRAUN,
    individually and on behalf of all others similarly Case No. 1:22-CV-00704-HYJ-RSK
    situated,                                          CLASS ACTION

                                                            DECLARATION OF PATRICK M.
                              Plaintiffs,                   PASSARELLA OF KROLL SETTLEMENT
                                                            ADMINISTRATION LLC REGARDING
            v.                                              SETTLEMENT FUNDING AND
                                                            ADMINISTRATION COSTS
    CHARTER FINANCIAL PUBLISHING
    NETWORK, INC.,
                                                            The Hon. Hala Y. Jarbou
                              Defendant.



I, Patrick M. Passarella, declare as follows:

                                               INTRODUCTION

           1.       I am a Senior Director of Kroll Settlement Administration LLC (“Kroll”),1 the

Settlement Administrator appointed in the above-captioned case, whose principal office is located

at 2000 Market Street, Suite 2700, Philadelphia, Pennsylvania 19103. I am over 21 years of age

and am authorized to make this declaration on behalf of Kroll and myself. The following

statements are based on my personal knowledge and information provided by other experienced

Kroll employees working under my general supervision. This declaration is being filed to provide

information to the Court regarding payment of the Settlement Fund by Defendant and the amount

of Settlement Administration Expenses Kroll is owed to date.

           2.       Kroll has extensive experience in class action matters, having provided services in

class action settlements involving antitrust, securities fraud, labor and employment, consumer, and




1
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
Class Action Settlement Agreement (the “Settlement Agreement”) entered into in this Action.


    DECL. OF PATRICK M. PASSARELLA OF KROLL SETTLEMENT
                                                            -1-                CASE NO. 1:22-CV-00704-HYJ-RSK
    ADMINISTRATION RE SETTLEMENT FUNDING AND ADMIN. COSTS
Case 1:22-cv-00704-HYJ-RSK               ECF No. 71-2, PageID.2335         Filed 12/04/24       Page 3
                                                 of 3


government enforcement matters. Kroll has provided notification and claims administration

services in more than 3,000 cases.

                              SETTLEMENT FUND INFORMATION

        3.       The original terms of the Settlement Agreement provided that Defendant shall pay

into the Escrow Account the amount of the Settlement Fund ($1,000,000.00) within sixty (60) days

after Final Approval. Kroll’s duties under the Settlement Agreement include serving as Escrow

Agent for the Settlement Fund.

        4.       Pursuant to the Court’s Final Judgment and Order of Dismissal with Prejudice,

entered on June 26, 2024, the deadline to fund the settlement was extended to December 2, 2024.

        5.       As of December 3, 2024, no funds have been received from Defendant for deposit

into the Escrow Account.

                        SETTLEMENT ADMINISTRATION EXPENSES

        6.       As of December 3, 2024, Kroll has billed $27,906.88 for Settlement Administration

Expenses. Pursuant to the Settlement Agreement, all Settlement Administration Expenses are to

be paid from the Settlement Fund. To date, Kroll has not otherwise received payment from

Defendant for Settlement Administration Expenses. Billing for this matter is ongoing and is subject

to change depending on the work that remains to be done, the anticipated cost of each item, and

any settlement administration scope change not currently under consideration.

                                            CERTIFICATION

        I declare under penalty of perjury under the laws of the United States that the above is true

and correct to the best of my knowledge and that this declaration was executed on October 4, 2024,

in Wendell, North Carolina.




                                                               _________________________________
                                                                PATRICK M. PASSARELLA




 DECL. OF PATRICK M. PASSARELLA OF KROLL SETTLEMENT
                                                         -2-                CASE NO. 1:22-CV-00704-HYJ-RSK
 ADMINISTRATION RE SETTLEMENT FUNDING AND ADMIN. COSTS
